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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


DACOLA SHORES PROPERTIES, LLC,

               P1aintiff~
                                                             Docket No.:
vs.

ERIE INSURANCE COMPANY,

               Defendant.



                                 NOTICE OF REMOVAL

               Defendant, Erie Insurance Company (“Erie”), files this Notice pursuant to

28 U.S.C. §~ 1441(b), 1446.



                                          Introduction

               1.      Plaintiff, Dacola Shores Properties, LLC, commenced this action by filing

a summons with notice in the Livingston County Clerk’s Office on or about

November 25, 2015. A copy of plaintiff’s summons with notice is attached hereto as Exhibit A.



               2.      Erie is a corporation organized under the laws of the State of

Pennsylvania, with a principal place of business located at 100 Erie Insurance Place, Erie,

Pennsylvania 16530.
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                 3.     Erie timely files this Notice of Removal within the 30-day time period

required by 28   U.S.C. §   1446(b).



                                              Nature of Suit

                 4.    Plaintiff, in its summons with notice, seeks damages for breach of an

insurance contract. Plaintiff alleges that its breach of contract damages are $73,528.13, plus

consequential damages for loss of use, which, upon information and belief, make the amount in

controversy in excess of $75,000.00.



                                            Basis for Removal

                       Removal is proper based upon diversity:



                       (A)         There is complete diversity between the proper parties to this

lawsuit under 28 U.S.C.     §   1332. Erie is a Pennsylvania corporation organized under the laws of

the State of Pennsylvania with its principal place of business in Erie, Pennsylvania at the address

identified above.



                       (B)         Upon information and belief, Dacola Shores Properties, LLC, is a

New York limited liability company with its principal place of business located 1770 Emerson

Street, Rochester, New York. Accordingly, there is diversity between the appropriate parties in

this case. See Exhibit A.
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                        (C)    The amount in controversy exceeds $75,000.



                       (D)     A true copy of the summons with notice is attached hereto and

incorporated by reference. See Exhibit A. Plaintiff served its summons with notice on the

New York State Department of Financial Services on March 21, 2016 at its offices in Albany,

New York. Erie received the summons with notice from the New York State Department of

Financial Services on March 28, 2016. A copy of the notice Erie received from the Department

of Financial Services is attached hereto as part of Exhibit A.



                        The Notice of Removal Procedurally is Correct

                6.     Defendant’s Notice of Removal procedurally is correct as there is diversity

among the parties at issue in this case, and the amount in controversy exceeds $75,000.



                7.     As required by 28 U.S.C.   §   1446(b), Erie has filed this Notice of Removal

within 30 days of receiving plaintiffs summons and complaint.



                8.     Also as required by 28 U.S.C.    §   1446(b), Erie has filed this Notice within

one year of the commencement of this action.



               9.      Defendant attaches to this Notice all pleadings, process, orders and all

other filings in the State Court action as required by 28 U.S.C.   §   1446(a) and this Court’s local

rules.
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               10.     Venue is proper in this district pursuant to 28   U.S.C. §   1441(a) because

the Western District of New York includes the place in which the state action has been pending.



               11.     Erie properly will file a copy of this Notice of Removal with the Clerk of

the State Court in which this action is pending.

Dated: April 20, 2016
       Buffalo, New York
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